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Case 2:13-cr-06070-SAB ECFNo.7 _ filed 12/04/13 PagelD.7 Pagelof1

FILED IN THE
U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES DISTRICT COURT

DEC - 4 2013
EASTERN DISTRICT OF WASHINGTON SEAN F, McAVOY, CLERK
YAKIMA, WASHINGTON OY
UNITED STATES OF AMERICA, )
) MJ-13-4363-1
Plaintiff, )
) ACKNOWLEDGMENT OF
VS. ) NOTICE OF RIGHTS
)
KENNY ROWELL, ) (CRIMINAL COMPLAINT)
)
Defendant. )
)

The undersigned Defendant does hereby acknowledge: I appeared on this date and was advised as

follows:

1)

6)

Of the charge or charges placed against me and the maximum penalty provided by law,
and I acknowledge receipt of a copy of the Criminal Complaint, which specifically sets
forth the allegations;

My right to remain silent at all times and if I make a statement it can be used against me;

My right to retain my own counsel, and if I am without funds, to have counsel appointed
to represent me in this matter;

My right to a jury trial before a United States District Judge. I am entitled to be
confronted by the government’s witnesses and am entitled to have witnesses attend on my
behalf;

My right to have a preliminary hearing before a United States Magistrate Judge and to
have counsel present at that hearing.

My right, if I am not a United States citizen, to have my country’s consulate informed of
my arrest and detention.

2] 04 [13 [oeug dil

Date’

Defendant’ *

Interpreted by (if applicable):

(Sign and Print Name)

ACKNOWLEDGMENT
